                 Case 24-12480-LSS              Doc 1350         Filed 04/29/25         Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                            Chapter 11

    FRANCHISE GROUP, INC., et al.,1                                   Case No. 24-12480 (LSS)

                                 Debtors.                             (Jointly Administered)

                                                                      Re: Docket No. 1102

                       NOTICE OF WITHDRAWAL OF DOCKET NO. 1102

         CBRE, INC., as the court appointed receiver of 400 SUCCESS, LLC, by and through its

undersigned counsel, hereby withdraws the Motion for Payment of Administrative

Expenses/Claims Filed by 400 Success, LLC by its Receiver, CBRE, Inc. [Docket No. 1102] filed

on March 14, 2025.



                                     [Remainder of Page Intentionally Left Blank]




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate
BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 109 Innovation Court, Suite J, Delaware, Ohio 43015.



4931-0631-5580, v. 1
                 Case 24-12480-LSS   Doc 1350   Filed 04/29/25   Page 2 of 2




Dated: April 29, 2025

                                        /s/ Scott D. Cousins
                                        Scott D. Cousins (#3079)
                                        LEWIS BRISBOIS BISGAARD
                                        & SMITH LLP
                                        500 Delaware Ave., Suite 700
                                        Wilmington, DE 19801
                                        Phone: (302) 985-6000
                                        Email: scott.cousins@lewisbrisbois.com


                                        Jeffrey M. Rosenthal
                                        Ann S. Lee
                                        MANDELBAUM BARRETT PC
                                        3 Becker Farm Road Suite 105
                                        Roseland, NJ 07068
                                        Phone: (973)-396-8378
                                        Email: jrosenthal@mblawfirm.com
                                               alee@mblawfirm.com

                                        Counsel for CBRE, Inc.




4931-0631-5580, v. 1
